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 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     Eastern District of New
     ________________        York of ________
                           District

     Case number (If known): _________________________ Chapter you are filing under:
                                                           Chapter 7
                                                           Chapter 11
                                                           Chapter 12
                                                           Chapter 13                                                  Check if this is an
                                                                                                                           amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                       02/20

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:       Identify Yourself

                                        About Debtor 1:                                           About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                        LEVI
                                        __________________________________________________        __________________________________________________
                                        First name                                                First name
       identification (for example,
       your driver’s license or         __________________________________________________        __________________________________________________
       passport).                       Middle name                                               Middle name

       Bring your picture               BALKANY
                                        __________________________________________________        __________________________________________________
       identification to your meeting   Last name                                                 Last name
       with the trustee.                ___________________________                               ___________________________
                                        Suffix (Sr., Jr., II, III)                                Suffix (Sr., Jr., II, III)




2.    All other names you               __________________________________________________        __________________________________________________
      have used in the last 8           First name                                                First name
      years
                                        __________________________________________________        __________________________________________________
       Include your married or          Middle name                                               Middle name
       maiden names.                    __________________________________________________        __________________________________________________
                                        Last name                                                 Last name

                                        __________________________________________________        __________________________________________________
                                        First name                                                First name

                                        __________________________________________________        __________________________________________________
                                        Middle name                                               Middle name
                                        __________________________________________________        __________________________________________________
                                        Last name                                                 Last name




3.    Only the last 4 digits of
      your Social Security              xxx     – xx – ____
                                                         0 ____
                                                             3 ____
                                                                2 ____
                                                                    1                            xxx    – xx – ____ ____ ____ ____
      number or federal                 OR                                                       OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                          9 xx – xx – ____ ____ ____ ____
      (ITIN)

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Debtor 1        LEVI                       BALKANY
                _______________________________________________________                             Case number (if known)_____________________________________
                First Name    Middle Name             Last Name




                                            About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):


4.    Any business names
      and Employer                           I have not used any business names or EINs.                 I have not used any business names or EINs.
      Identification Numbers
      (EIN) you have used in                _________________________________________________            _________________________________________________
      the last 8 years                      Business name                                                Business name

      Include trade names and
                                            _________________________________________________            _________________________________________________
      doing business as names               Business name                                                Business name


                                            ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                            EIN                                                          EIN

                                            ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                            EIN                                                          EIN




5.    Where you live                                                                                     If Debtor 2 lives at a different address:


                                            884 Eastern Parkway
                                            _________________________________________________            _________________________________________________
                                            Number     Street                                            Number     Street


                                            _________________________________________________            _________________________________________________


                                             Brooklyn, NY 11213
                                            _________________________________________________            _________________________________________________
                                            City                            State   ZIP Code             City                            State   ZIP Code

                                             KINGS
                                            _________________________________________________            _________________________________________________
                                            County                                                       County


                                            If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                            above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                            any notices to you at this mailing address.                  any notices to this mailing address.


                                            _________________________________________________            _________________________________________________
                                            Number     Street                                            Number     Street


                                            _________________________________________________            _________________________________________________
                                            P.O. Box                                                     P.O. Box

                                            _________________________________________________            _________________________________________________
                                            City                            State   ZIP Code             City                            State   ZIP Code




6.    Why you are choosing                  Check one:                                                   Check one:
      this district to file for
      bankruptcy                             Over the last 180 days before filing this petition,         Over the last 180 days before filing this petition,
                                               I have lived in this district longer than in any             I have lived in this district longer than in any
                                               other district.                                              other district.

                                             I have another reason. Explain.                             I have another reason. Explain.
                                               (See 28 U.S.C. § 1408.)                                      (See 28 U.S.C. § 1408.)
                                               ________________________________________                     ________________________________________
                                               ________________________________________                     ________________________________________
                                               ________________________________________                     ________________________________________
                                               ________________________________________                     ________________________________________



     Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                   page 2
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Debtor 1        LEVI                       BALKANY
                _______________________________________________________                             Case number (if known)_____________________________________
                First Name    Middle Name             Last Name




Part 2:       Tell the Court About Your Bankruptcy Case


7.    The chapter of the                    Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                   for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                             Chapter 7
                                             Chapter 11
                                             Chapter 12
                                             Chapter 13

8.    How you will pay the fee               I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                               local court for more details about how you may pay. Typically, if you are paying the fee
                                               yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                               submitting your payment on your behalf, your attorney may pay with a credit card or check
                                               with a pre-printed address.

                                             I need to pay the fee in installments. If you choose this option, sign and attach the
                                               Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                             I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                               By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                               less than 150% of the official poverty line that applies to your family size and you are unable to
                                               pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                               Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                     No
      bankruptcy within the
      last 8 years?                          Yes. District __________________________ When        _______________ Case number ___________________________
                                                                                                   MM / DD / YYYY

                                                      District __________________________ When     _______________ Case number ___________________________
                                                                                                   MM / DD / YYYY

                                                      District __________________________ When     _______________ Case number ___________________________
                                                                                                   MM / DD / YYYY



10. Are any bankruptcy                       No
      cases pending or being
      filed by a spouse who is               Yes. Debtor _________________________________________________ Relationship to you         _____________________
      not filing this case with                       District __________________________ When     _______________ Case number, if known____________________
      you, or by a business                                                                        MM / DD / YYYY
      partner, or by an
      affiliate?
                                                      Debtor _________________________________________________ Relationship to you      _____________________

                                                      District __________________________ When     _______________ Case number, if known____________________
                                                                                                   MM / DD / YYYY



11. Do you rent your                         No. Go to line 12.
      residence?                             Yes. Has your landlord obtained an eviction judgment against you?
                                                       No. Go to line 12.
                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                          part of this bankruptcy petition.




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Debtor 1       LEVI                                  BALKANY
              _______________________________________________________                                   Case number (if known)_____________________________________
              First Name        Middle Name             Last Name




Part 3:     Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor                  No. Go to Part 4.
    of any full- or part-time
    business?                                  Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an                        _______________________________________________________________________________________
                                                      Name of business, if any
    individual, and is not a
    separate legal entity such as
    a corporation, partnership, or                    _______________________________________________________________________________________
                                                      Number    Street
    LLC.
    If you have more than one
                                                      _______________________________________________________________________________________
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.                                 _______________________________________________          _______      __________________________
                                                       City                                                    State        ZIP Code


                                                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                              any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    are you a small business
    debtor?                                    No. I am not filing under Chapter 11.
    For a definition of small
    business debtor, see
                                               No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
                                                      the Bankruptcy Code.
    11 U.S.C. § 101(51D).
                                               Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy
                                                      Code, and I do not choose to proceed under Subchapter V of Chapter 11.
                                               Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                      Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.
Part 4:     Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14. Do you own or have any                     No
   property that poses or is
   alleged to pose a threat                    Yes. What is the hazard?        ________________________________________________________________________
   of imminent and
   identifiable hazard to                                                       ________________________________________________________________________
   public health or safety?
   Or do you own any
   property that needs
                                                        If immediate attention is needed, why is it needed? _______________________________________________
   immediate attention?
   For example, do you own                                                      ________________________________________________________________________
   perishable goods, or livestock
   that must be fed, or a building
   that needs urgent repairs?
                                                        Where is the property? ________________________________________________________________________
                                                                                Number         Street


                                                                                ________________________________________________________________________

                                                                                ________________________________________ _______           ____________________
                                                                                City                                     State             ZIP Code


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Debtor 1       LEVI
              First Name     Middle Name
                                                  BALKANY
              _______________________________________________________
                                                   Last Name
                                                                                                        Case number (if known)_____________________________________




Part 5:     Explain Your Efforts to Receive a Briefing About Credit Counseling

                                           About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
   you have received a
   briefing about credit                   You must check one:                                                You must check one:
   counseling.
                                            I received a briefing from an approved credit                     I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
    receive a briefing about credit           certificate of completion.                                         certificate of completion.
    counseling before you file for
                                              Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
    bankruptcy. You must
                                              plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you
    cannot do so, you are not
                                            I received a briefing from an approved credit                     I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                              certificate of completion.                                         certificate of completion.
    If you file anyway, the court
                                              Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you
                                              you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
    will lose whatever filing fee
                                              plan, if any.                                                      plan, if any.
    you paid, and your creditors
    can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
    again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                              unable to obtain those services during the 7                       unable to obtain those services during the 7
                                              days after I made my request, and exigent                          days after I made my request, and exigent
                                              circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                              of the requirement.                                                of the requirement.
                                              To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                              required you to file this case.                                    required you to file this case.
                                              Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                              If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved                      You must file a certificate from the approved
                                              agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                              may be dismissed.                                                  may be dismissed.
                                              Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                              days.                                                              days.

                                            I am not required to receive a briefing about                     I am not required to receive a briefing about
                                              credit counseling because of:                                      credit counseling because of:

                                               Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                                 deficiency that makes me                                           deficiency that makes me
                                                                 incapable of realizing or making                                   incapable of realizing or making
                                                                 rational decisions about finances.                                 rational decisions about finances.
                                               Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                                 to be unable to participate in a                                   to be unable to participate in a
                                                                 briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                 through the internet, even after I                                 through the internet, even after I
                                                                 reasonably tried to do so.                                         reasonably tried to do so.
                                               Active duty. I am currently on active military                    Active duty. I am currently on active military
                                                                 duty in a military combat zone.                                    duty in a military combat zone.
                                              If you believe you are not required to receive a                   If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




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Debtor 1      LEVI                              BALKANY                                              Case number (irknown).
             Fiisi Name    Middle Name             Last Name




Part 6:
       1   Answer These Questions for Reporting Purposes

                                         16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. What kind of debts do
                                             as "incurred by an individual primarily for a personal, family, or household purpose."
    you have?
                                             I No. Go to line 16b.
                                             Q Yes. Go to line 17.

                                         16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                              money for a business or investment or through the operation of the business or investment.
                                             Q No. Go to line 16c.
                                               Yes. Go to line 17.

                                         16c. State the type of debts you owe that are not consumer debts or business debts.



17. Are you filing under
    Chapter 7?                           G No. I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after 21 Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                       21 No
    administrative expenses
    are paid that funds will be        G Yes
    available for distribution
    to unsecured creditors?

18, How many creditors do                2) 1-49                                   G 1,000-5,000                              G 25,001-50,000
    you estimate that you                G 50-99                                   Q 5,001-10,000                             G 50,001-100,000
    owe?                                 G 100-199                                 G 10,001-25,000                            G More than 100,000
                                         G 200-999

19. How much do you                      21 $0-$50,000                             G $1,000,001-310 million                   G $500,000,001-$1 billion
   estimate your assets to               □ $50,001-5100,000                        G $10,000,001-350 million                  G $1,000,000,001-$10 billion
   be worth?                             G $100,001-3500,000                       G $50,000,001-3100 million                 G $10,000,000,001-350 billion
                                         G $500,001-$1 million                     G $100,000.001-$500 million                G More than $50 billion

20. How much do you                      G $0-350.000                              G $1,000,001-310 million                   G $500,000,001-31 billion
    estimate your liabilities            G $50,001-3100.000                        G $10,000,001-350 million                  G $1,000,000,001-310 billion
    to be?                               G $100,001-3500,000                       G $50,000,001-$100 million                 Q 310,000,000,001-$50 billion
                                         G $500,001-31 million                     Q $100.000,001-$500 million                G More than $50 billion
Part 7:^ Sign Below

                                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                  correct.
                                         If I have chosen to file under Chapter 7, 1 am aware that I may proceed, if eligible, under Chapter 7. 11,12, or 13
                                         of title 11, United Stales Code. I understand the relief available under each chapter, and I choose to proceed
                                         under Chapter?.
                                         If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                         this document. I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                         I request relief in accordance with the chapter of title 11. United States Code, specified in this petition.
                                         I understand making a false statement, concealing property, or obtaining money or properly by fraud in connection
                                         with a bankruptcy case can result in fines up to $  ,000, or imprisonment for up to 20 years, or both.
                                         18 U.S.C. §§ 152, 1341, 1519,       3571,

                                         X                                                                X
                                             Signature of Debtor 1                                            Signature of Debtor 2

                                             Executed on 05/13/2022                                           Executed on
                                                               MM   / DD   /YYYY                                              MM / DD   /YYYY


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